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 Results 1 to 6 of 6
 Last Name: SWAMINATHAN; First Name:   RAHUL; City: CLAREMONT; State: CA;

                                                                                                                                  FURTHER RESEARCH
                                                                                                                                  Reports for this Record


                                                                                                                               No Report Options Available



ALL        NAME                               SSN                       ADDRESS                                     PHONE(S)                        INDICATORS

           RAHUL SWAMINATHAN                                                301 PLATT BLVD
 1.
           Gender - Male                                                    CLAREMONT, CA 91711-5901, LOS ANGELES
                                                                            COUNTY
                                                                            Aug 2008 - Feb 2012
                                                                                Probable current address
                                                                                College or university.
                                                                              Map



           RAHUL SWAMINATHAN                                                340 E FOOTHILL BLVD
 2.
           Gender - Male                                                    CLAREMONT, CA 91711-3116, LOS ANGELES
                                                                            COUNTY
                                                                            Sep 2008 - Apr 2009
                                                                                Probable current address
                                                                              Map



           RAHUL C SWAMINATHAN                SSN: 018-63-xxxx              10228 RANCHO CARMEL DR
 3.
           RAHUL SWAMINATHAN                                                SAN DIEGO, CA 92128-3659, SAN DIEGO
           DOB: 11/xx/1988                       SSN potentially            COUNTY
           Age: 34                            randomly issued by the        2022 - Feb 2023
           Gender - Male                      SSA.                             Probable current address
                                                                              Map

                                                                            10950 BROOKE DR APT 51323
                                                                            SAN DIEGO, CA 92126-5084, SAN DIEGO
                                                                            COUNTY
                                                                            Nov 2020 - Aug 2022
                                                                              Map



           RAHUL SWAMINATHAN                  SSN: 752-67-xxxx              340 S LEMON AVE APT 1038
 4.
           DOB: 6/xx/1990                                                   WALNUT, CA 91789-2706, LOS ANGELES
           Age: 32                               SSN potentially            COUNTY
           Gender - Male                      randomly issued by the        Dec 2014 - Feb 2023
                                              SSA.                              Probable current address
                                                                                Newspaper facility.
                                                                               Tax return preparation service.
                                                                              Map

                                                                            1 INDUSTRIAL PARK DR APT 9
                                                                            PELHAM, NH 03076-2158, HILLSBOROUGH
                                                                            COUNTY
                                                                            Jul 2017 - Mar 2022
                                                                              Map

                                                                            170 SAINT GERMAIN AVE
                                                                            SAN FRANCISCO, CA 94114-2132, SAN
                                                                            FRANCISCO COUNTY
                                                                            Dec 2014
                                                                              Map



           RAHUL SWAMINATHAN                  SSN: 683-93-xxxx              617 TIMBERPINE AVE APT 4
 5.        DOB: 10/xx/1988                                                  SUNNYVALE, CA 94086-8366, SANTA CLARA
           Age: 34                               SSN potentially            COUNTY
           Gender - Male                      randomly issued by the        Apr 2017 - Feb 2023
                                              SSA.                              Probable current address
                                                                              Map

                                                                            5201 GREAT AMERICA PKWY STE 400
                                                                            SANTA CLARA, CA 95054-1143, SANTA
                                                                            CLARA COUNTY
                                                                            Mar 2017 - Apr 2017
                                                                               College or university.
                                                                              Map



           RAHUL SWAMINATHAN                  SSN: 614-23-xxxx              33513 MUSTANG ST
 6.        DOB: 12/xx/2000                                                  FREMONT, CA 94555-3520, ALAMEDA
           Age: 22                                                          COUNTY
           Gender - Male                                                    Jan 2019 - Feb 2023
                                                                                Probable current address
                                                                              Map
